UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

ABDELHAFIZ M. NOFAL, Case No.2:21-CV-03104
Plaintiff,
- against -

IMCMV TIMES SQUARE LLC d/b/a
MARGARITAVILLE RESORT TIMES SQUARE,

Defendant.
xX

DEFENDANT IMCMV TIMES SQUARE LLC d/b/a MARGARITAVILLE TIMES
SQUARE’S RESPONSES AND OBJECTIONS TO PLAINTIFF’S FIRST SET OF
REQUESTS FOR PRODUCTION OF DOCUMENTS
Pursuant to Rule 34 of the Federal Rules of Civil Procedure, Defendant IMCMV Times Square
LLC d/b/a Margaritaville Resort Times Square (“Margaritaville” or “Defendant”) responds to

Plaintiff's First Request for the Production of Documents as follows:

RESERVATION OF RIGHTS

Margaritaville responds to these document requests subject to the accompanying objections
without waiving and expressly preserving all such objections. Any response to the document
requests is made subject to Margaritaville’s right to object to the admission of any and all such
responses on the grounds that they are irrelevant to the issues in this action or are otherwise
inadmissible. Margaritaville also submits these responses subject to, without intending to waive,
and expressly preserving: (a) any objections as to privilege or work product and (b) the right to
object to other discovery procedures concerning the subject matter of the document requests to
which they respond. These responses are based on Margaritaville’s present knowledge, information
and belief, and are subject to amendment and supplementation as Margaritaville acquires additional

information or documents and completed its discovery of the facts underlying this case.
GENERAL OBJECTIONS

1. Margaritaville’s objections to the document requests are prescribed by, and it
responds in accordance with, the Federal Rules of Civil Procedure and the Local Civil Rules of the
Court.

2. Margaritaville objects to the document requests to the extent they seek information
and documents not within its possession, custody or control.

3. Margaritaville objects to the document requests to the extent that the documents

requested therein are equally accessible to or in Plaintiffs possession.

4, Margaritaville objects to the document requests to the extent they call for legal
conclusion.
5. . Margaritaville objects to the document requests to the extent they seek attorney

work product, hearing and/or litigation materials, identification of documents prepared after the
commencement of this litigation, or communications protected by the attorney-client privilege or
any other applicable privilege.

6. Margaritaville objects to the document requests to the extent that they call for
disclosure of (i) confidential or proprietary business information and/or (ii) personal information
about individuals who are not parties to this action, including present or former employees of
Margaritaville.

7. Each and every response to a document request is made subject to the foregoing
General Objections, regardless of whether a General Objection or specific objection is stated in the
response. The explicit reference to a General Objection or the making of a specific objection in
response to a particular document request is not intended to constitute a waiver of the General
Objections that are not specifically referenced in that response.

8. Each and every response to a document request are limited to the relevant time
period of Plaintiff's employment, May through September 2021,
DOCUMENTS AND THINGS TO BE PRODUCED

1, Any and all documents that relate or pertain to, received from, directed to or otherwise
mentioning Plaintiff.
RESPONSE: Margaritaville objects to this Request to the extent it (1) seeks documents
that are not relevant to and disproportional to Plaintiff's discrimination and retaliation

-. claitns and Margaritaville’s defenses to those claims; (2) is vague and ambiguous; and (3)

is unduly burdensome as it requires Margaritaville to search for any documents
concerning Plaintiff regardless of their relevance to this case. Subject to and without
waiving these objections, see Margaritaville’s document production.

2.0~C The complete personnel file of Plaintiff including employment application, resume,
acknowledgments of receipt of employment handbook and other documents, performance
evaluations, written warnings, complaints, reprimands, and salary and benefit
information.
RESPONSE: Margaritaville objects to this Request to the extent it (1) seeks documents
that are not relevant to and disproportional to Plaintiff's discrimination and retaliation
claims and Margaritaville’s defenses to those claims; (2) is vague and ambiguous; and (3)
is unduly burdensome as it requires Margaritaville to search for any documents regardless
of their relevance to this case. Subject to and without waiving these objections, see
Margaritaville’s pre-mediation document production which contains Plaintiffs personnel

_ file bearing the Bates numbers IMCMV000026-000108.
3. The complete personnel file of Natalie Cohee including employment application, resume,

acknowledgments of receipt of employment handbook and other documents, performance
evaluations, written warnings, complaints, reprimands, and salary and benefit
information.

RESPONSE: Margaritaville objects to this Request to the extent it (1) seeks documents
that are not relevant to and disproportional to Plaintiffs discrimination and retaliation
claims and Margaritaville’s defenses to those claims; (2) is vague and ambiguous; and (3)
is unduly burdensome as it requires Margaritaville to search for any documents regardless
of their relevance to this case. Subject to and without waiving these objections, see
documents bearing the Bates numbers IMCMV000206-000222.

All documents given to Plaintiff upon his hire by Defendant Margaritaville.

RESPONSE: Margaritaville objects to this Request to the extent it (1) seeks documents
that are not relevant to and disproportional to Plaintiff's discrimination and retaliation
claims and Margaritaville’s defenses to those claims; (2) is vague and ambiguous; (3) is
unduly burdensome as it requires Margaritaville to search for any documents regardless of
their relevance to this case; and (4) seeks documents in Plaintiffs possession and control.
Subject to and without waiving these objections, see Margaritaville’s pre-mediation
document production which contains Plaintiff's onboarding documentation.

All documents provided by Plaintiff to Defendant Margaritaville upon his hire.

RESPONSE: Margaritaville objects to this Request to the extent it (1) seeks documents
that are not relevant to and disproportional to Plaintiff's discrimination and retaliation
claims and Margaritaville’s defenses to those claims; (2) is vague and ambiguous; and (3)
“is unduly burdensome as it requires Margaritaville to search for any documents regardless
of their relevance to this case. Subject to and without waiving these objections, see
Margaritaville’s pre-mediation document production which contains Plaintiffs onboarding

documentation bearing the Bates numbers IMCMV0001 14-000133.
All documents that describe, discuss, evidence, or concern the positions, job duties, and
responsibilities Plaintiff had while working for Defendant, including but not limited to any
job descriptions or evaluations of the work performed by Plaintiff.

RESPONSE: Margaritaville objects to this Request to the extent it (1) seeks documents

that are not relevant to and disproportional to Plaintiffs discrimination and retaliation

claims and Margaritaville’s defenses to those claims; (2) is vague and ambiguous; and (3)

is unduly burdensome as it requires Margaritaville to search for any documents regardless
of their relevance to this case. Subject to and without waiving these objections, see
documents bearing the Bates numbers IMCMV000149-000150.
_ Any and all documents that relate or pertain to any write-ups, complaints, comments,
criticisms or warnings, oral or written, concerning Plaintiff's work performance.
RESPONSE: Margaritaville objects to this Request to the extent it (1) seeks documents
that are not relevant to and disproportional to Plaintiffs discrimination and retaliation
claims and Margaritaville’s defenses to those claims; (2) is vague and ambiguous; (3) is
unduly burdensome as it requires Margaritaville to search for any documents regardless of
their relevance to this case; and (4) seeks documents protected by the attorney-client
privilege and work-product doctrine. Subject to and without waiving these objections, see
documents bearing the Bates numbers IMCMV000038-000043 and IMCMV000113.
Any and all documents that relate or pertain to any of Defendant Margaritaville’s policies,
guidelines or procedures regarding the handling of employee complaints of discrimination,
hostile work environment or retaliation, which were in effect at any time while Plaintiff
was employed by Defendant Margaritaville.
RESPONSE: Margaritaville objects to this Request to the extent it (1) seeks documents

that are not relevant to and disproportional to Plaintiff’s discrimination and retaliation
claims and Margaritaville’s defenses to those claims; (2) is vague and ambiguous; and (3)
is unduly burdensome as it requires Margaritaville to search for any documents regardless
of their relevance to this case. Subject to and without waiving these objections, see
documents bearing the Bates numbers IMCMV000151-000155.

Any and all documents related to any complaints made by Plaintiff of disability

discrimination.

RESPONSE: Margaritaville objects to this Request to the extent it (1) seeks documents

that are not relevant to and disproportional to Plaintiff's discrimination and retaliation

claims and Margaritaville’s defenses to those claims; (2) is vague and ambiguous; and (3)

- is unduly burdensome as it requires Margaritaville to search for any documents regardless

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of their relevance to this case. Subject to and without waiving these objections, see
documents bearing the Bates numbers IMCMV000203-000205.

Any and all documents including notes and interview notes that were taken in the course
of the Defendant’s investigation (if any) into Plaintiff's complaints of disability

discrimination.

RESPONSE: Sce Margaritaville’s Response to Request Number 9.

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Any and all documents that relate or pertain to any investigation of any complaint(s),
charge(s), report(s) or allegation(s), formal or informal, of hostile work environment,

discrimination and/or retaliation, which were made by any person other than Plaintiff,

_ against Margaritaville or Natalie Cohee.

RESPONSE: Margaritaville objects to this Request to the extent it (1) seeks documents
that are not relevant to and disproportional to Plaintiff's discrimination and retaliation
claims and Margaritaville’s defenses to those claims; (2) is vague and ambiguous; (3) is

overbroad; (3) is not properly limited in geographic or temporal scope and (4) is unduly
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burdensome as it requires Margaritaville to search for any documents regardless of their
relevance to this case. Subject to and without waiving these objections, if Plaintiff is
willing to narrow the scope of this Request, Margaritaville will reconsider its objections.

Any and all documents that relate or pertain to Plaintiff's attendance record while

employed by Defendant Margaritaville.

~ RESPONSE: Margaritaville objects to this Request to the extent it (1) seeks documents

that are not relevant to and disproportional to Plaintiffs discrimination and retaliation
claims and Margaritaville’s defenses to those claims; (2) is vague and ambiguous; and (3)

is unduly burdensome as it requires Margaritaville to search for any documents regardless

" of their relevance to this case. Subject to and without waiving these objections, see

Margaritaville’s pre-mediation document production which contains Plaintiff's timesheets
bearing the Bates numbers IMCMV000097-000106.

Any and all charts, diagrams, or other documents which relate or pertain to the
organizational structure of Defendant Margaritaville.

RESPONSE: Margaritaville objects to this Request to the extent it (1) seeks documents
that’ are not relevant to and disproportional to Plaintiff's discrimination and retaliation
claims and Margaritaville’s defenses to those claims; (2) is vague and ambiguous; and (3)
is unduly burdensome as it requires Margaritaville to search for any documents regardless

of their relevance to this case. Subject to and without waiving these objections, see

- documents bearing the Bates numbers IMCMV000190.

Any and all personnel manuals, employee handbooks, benefits manuals and salary
schedules which were in effect at any time during Plaintiff's employment with Defendant

Margaritaville.
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RESPONSE: Margaritaville objects to this Request to the extent it (1) seeks documents
that are not relevant to and disproportional to Plaintiff's discrimination and retaliation
claims and Margaritaville’s defenses to those claims; (2) is vague and ambiguous; and (3)
is unduly burdensome as it requires Margaritaville to search for any documents regardless

of their relevance to this case. Subject to and without waiving these objections, see

documents bearing the Bates numbers IMCMV000114, IMCMV000118-000133, and

IMCMV000151-000189.
Any and all supervisors’ manuals which were effect at any time during Plaintiff's

employment with Defendant Margaritaville.

RESPONSE: Margaritaville objects to this Request to the extent it (1) seeks documents

that are not relevant to and disproportional to Plaintiff's discrimination and retaliation
claims and Margaritaville’s defenses to those claims; (2) is vague and ambiguous; and (3)
is unduly burdensome as it requires Margaritaville to search for any documents regardless
of their relevance to this case. Subject to and without waiving these objections, see
documents bearing the Bates numbers IMCMV000114, IMCMV000118-000133, and
IMCMV000151-000189.

Any and all documents that relate or pertain to Defendant’s policies regarding health
insurance, retirement benefits, sick leave, vacation pay, part-time work, profit-sharing

plans and/or other fringe benefits, including, but not limited to, all summary plan

" descriptions which were applicable to Plaintiff's employment with Defendant.

RESPONSE: Margaritaville objects to this Request to the extent it (1) seeks documents
that are not relevant to and disproportional to Plaintiffs discrimination and retaliation
claims and Margaritaville’s defenses to those claims; (2) is vague and ambiguous; and (3)

is unduly burdensome as it requires Margaritaville to search for any documents regardless

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of their relevance to this case. Subject to and without waiving these objections, see
Margaritaville’s pre-mediation disclosures.

Any and all photographs, negatives, recordings, and/or videotapes of Plaintiff.
RESPONSE: Margaritaville objects to this Request to the extent it (1) seeks documents
that are not relevant to and disproportional to Plaintiff's discrimination and retaliation
claims and Margaritaville’s defenses to those claims; (2) is vague and ambiguous; and (3)
is unduly burdensome as it requires Margaritaville to search for any documents regardless
of their relevance to this case. Subject to and without waiving these objections, there are
none.

Any and all documents that relate or pertain to any conversations or communications, by,
among or between any past or present employees, officers, agents or directors of Defendant
regarding Plaintiff, including but not limited to, Plaintiff's work performance, work
schedule, complaints about discrimination/disparate treatment, requests for vacation, time
off, disability leave.

RESPONSE: Margaritaville objects to this Request to the extent it (1) seeks documents
that are not relevant to and disproportional to Plaintiff's discrimination and retaliation
claims and Margaritaville’s defenses to those claims; (2) is vague and ambiguous; (3) seeks
documents protected by the attorney-client privilege and work-product doctrine; and (4) is

unduly burdensome as it requires Margaritaville to search for any documents regardless of

“their relevance to this case. Subject to and without waiving these objections, see

Margaritaville’s pre-mediation disclosures bearing the Bates numbers IMCMV000039-
000043.
Any and all emails between Plaintiff and Defendant Margaritaville related to the

allegations in this lawsuit.
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RESPONSE: Margaritaville objects to this Request to the extent it (1) seeks documents
that are not relevant to and disproportional to Plaintiffs discrimination and retaliation
claims and Margaritaville’s defenses to those claims; (2) is vague and ambiguous; (3) seeks
information in Plaintiff's possession and control; and (4) is unduly burdensome as it
requires Margaritaville to search for any documents regardless of their relevance to this
case.

Any and all documents sent or received by Human Resources, regarding Plaintiff's work

performance, work schedule, complaints about discrimination/disparate treatment, requests

- for vacation, time off.

RESPONSE: Margaritaville objects to this Request to the extent it (1) seeks documents
that are not relevant to and disproportional to Plaintiff's discrimination and retaliation
claims and Margaritaville’s defenses to those claims; (2) is vague and ambiguous; and (3)
is unduly burdensome as it requires Margaritaville to search for any documents regardless
of their relevance to this case. Subject to and without waiving these objections, see
Margaritaville’s pre-mediation disclosures bearing the Bates numbers IMCMV000039-
000043.

Any and all documents related to Plaintiff's termination.

RESPONSE: Margaritaville objects to this Request to the extent it (1) seeks documents

_ that are not relevant to and disproportional to Plaintiffs discrimination and retaliation

claims and Margaritaville’s defenses to those claims; (2) is vague and ambiguous, and (3)
is unduly burdensome as it requires Margaritaville to search for any documents regardless
of their relevance to this case. Subject to and without waiving these objections, see
Margaritaville’s pre-mediation disclosures bearing the Bates numbers IMCMV000026-

000108.
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Any and all documents related to training sessions on how to prevent discrimination held .
by Defendant Margaritaville which Natalie Cohee attended.

RESPONSE: Margaritaville objects to this Request to the extent it (1) seeks documents
that are not relevant to and disproportional to Plaintiff's discrimination and retaliation
claims and Margaritaville’s defenses to those claims; (2) is vague and ambiguous; (3) is
overbroad; and (4) is unduly burdensome as it requires Margaritaville to search for any
documents regardless of their relevance to this case. Subject to and without waiving these
objections, see documents bearing the Bates numbers IMCMV000191-000202.

Any and all documents that relate or pertain to any of Defendant’s policies, guidelines or
procedures regarding the handling of employee complaints of discrimination based on
disability, hostile work environment and/or retaliation which were in effect at any time
while Plaintiff was employed by Defendant Margaritaville.

RESPONSE: See Margaritaville’s Response to Request Number 14.

Any and all documents that relate or pertain to any written statements or declarations
(signed or unsigned), made by any person, which mention, discuss or refer to the Plaintiff.
RESPONSE: Margaritaville objects to this Request to the extent it (1) seeks documents
that are not relevant to and disproportional to Plaintiff's discrimination and retaliation

claims and Margaritaville’s defenses to those claims; (2) is vague and ambiguous; (3) seeks

" documents protected by the attorney-client privilege and work-product doctrine; and (4) is

unduly burdensome as it requires Margaritaville to search for any documents regardless of
their relevance to this case.
Any and all documents which in any way relate or pertain to any claims made by Plaintiff

to HR that he was being discriminated against, retaliated against and/or subjected to
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discriminatory practices at any time during his employment with Defendant
Margaritaville.

RESPONSE: Margaritaville objects to this Request to the extent it (1) seeks documents

- that are not relevant to and disproportional to Plaintiff's discrimination and retaliation

claims and Margaritaville’s defenses to those claims; (2) is vague and ambiguous; and (3)
is unduly burdensome as it requires Margaritaville to search for any documents regardless

of their relevance to this case. Subject to and without waiving these objections,

Margaritaville states that Plaintiff did not make any complaints of discrimination to Human

Resources during his employment. Upon receipt of the Complaint, Plaintiffs claims were
investigated by outside counsel in preparation for litigation.

Any and all documents that relate or pertain to any reprimand, demotion or other
disciplinary action taken against Natalie Cohee as a result of any complaint(s), charge(s),
report(s) or allegation(s), formal or informal, by Plaintiff that she had discriminated or
retaliated against Plaintiff and/or subjected Plaintiff to a hostile work environment.
RESPONSE: Margaritaville objects to this Request to the extent it (1) seeks documents
that are not relevant to and disproportional to Plaintiffs discrimination and retaliation
claims and Margaritaville’s defenses to those claims; (2) is vague and ambiguous; and (3)
is unduly burdensome as it requires Margaritaville to search for any documents regardless
of their relevance to this case. Subject to and without waiving these objections,
Margaritaville states that there are none.

Any and all documents that relate or pertain to any complaint(s), charge(s), report(s) or
allegation(s), formal or informal, of disability discrimination, hostile work environment
and/or retaliation, which were made by any person other than Plaintiff, against Natalie

Cohee.
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RESPONSE: Margaritaville objects to this Request to the extent it (1) seeks documents
that are not relevant to and disproportional to Plaintiffs discrimination and retaliation

claims and Margaritaville’s defenses to those claims; (2) is vague and ambiguous; and (3)

. is uhduly burdensome as it requires Margaritaville to search for any documents regardless

of their relevance to this case. Subject to and without waiving these objections,
Margaritaville states that there are none.

Any and all documents including witness statements that were obtained in the course of

- the Defendant’s investigation regarding Plaintiff’s complaints of discrimination.

RESPONSE: See Margaritaville’s Response to Request Number 9.

Any and all documents supplied by Defendants to any state or federal agency regarding
Plaintiff.

RESPONSE: Margaritaville objects to this Request to the extent it (1) seeks documents
that are not relevant to and disproportional to Plaintiff's discrimination and retaliation
claims and Margaritaville’s defenses to those claims; (2) is vague and ambiguous; (3) seeks
documents protected by the attorney-client privilege and work-product doctrine; and (4) is
unduly burdensome as it requires Margaritaville to search for any documents regardless of

their relevance to this case. Subject to and without waiving these objections, see

_ documents bearing the Bates numbers IMCMV000134-000147.

Any personnel or employment or other file on Plaintiff in which notations or comments
regarding Plaintiff's job performance, honesty, ability, diligence and other similar factors
were recorded from the date Plaintiff began his employment at Margaritaville until his
termination.

RESPONSE: Margaritaville objects to this Request to the extent it (1) seeks documents

that are not relevant to and disproportional to Plaintiff's discrimination and retaliation
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claims and Margaritaville’s defenses to those claims; (2) is vague and ambiguous; and (3)
is unduly burdensome as it requires Margaritaville to search for any documents regardless

of their relevance to this case. Subject to and without waiving these objections, see

. Margaritaville’s pre-mediation document production which contains Plaintiff's personnel

file bearing the Bates numbers IMCMV000026-000108.
Any and all documents showing communications between Defendants and any City, State

or Federal Official concerning Plaintiff.

’ RESPONSE: See Margaritaville’s Response to Request Number 29.

Documents describing, constituting, summarizing, supporting or referring to Defendants’
Affirmative Defenses to Plaintiff’s Complaint, set forth in Your Answer.

RESPONSE: Margaritaville objects to this Request to the extent it (1) seeks documents
that are not relevant to and disproportional to Plaintiff's discrimination and retaliation
claims and Margaritaville’s defenses to those claims; (2) is vague and ambiguous; (3) is
premature because discovery is still ongoing; (4) seeks documents protected by the
attorney-client privilege and work-product doctrine; and (5) is unduly burdensome as it
requires Margaritaville to search for any documents regardless of their relevance to this

case.

. Any and all documents with respect to any action, claim, complaint or charge concerning

disability-based discrimination, hostile work environment and/or retaliation sent or
received by a court, an arbitrator, the Equal Employment Opportunity Commission, the
New York State Division of Human Rights, the New York City Commission of Human
Rights, local civil rights regarding Margaritaville.

RESPONSE: Margaritaville objects to this Request to the extent it (1) seeks documents

that, are not relevant to and disproportional to Plaintiff's discrimination and retaliation
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claims and Margaritaville’s defenses to those claims; (2) is vague and ambiguous; (3) is
overbroad; and (4) is not properly limited in geographic or temporal scope; and (5) is unduly
burdensome as it requires Margaritaville to search for any documents regardless of their
relevance to this case. Subject to and without waiving these objections, if Plaintiffis willing
to narrow the scope of this Request, Margaritaville will reconsider its objections.

Any and all documents with respect to any action, claim, complaint or charge concerning

disability-based discrimination, hostile work environment and/or retaliation sent or

received by a court, an arbitrator, the Equal Employment Opportunity Commission, the
New York State Division of Human Rights, the New York City Commission of Human
Rights, local civil rights regarding Natalie Cohee.

RESPONSE: Margaritaville objects to this Request to the extent it (1) seeks documents
that are not relevant to and disproportional to Plaintiff’s discrimination and retaliation
claims and Margaritaville’s defenses to those claims; (2) is vague and ambiguous; (3) is
overbroad: and (4) is not properly limited in geographic or temporal scope; and (5) is
unduly burdensome as it requires Margaritaville to search for any documents regardless of
their relevance to this case. Subject to and without waiving these objections, if Plaintiff is

willing to narrow the scope of this Request, Margaritaville will reconsider its objections.

" All emails exchanged between Plaintiff and the Defendant Margaritaville, through its agents

and employees.

RESPONSE: Margaritaville objects to this Request to the extent it (1) seeks documents

that are not relevant to and disproportional to Plaintiff's discrimination and retaliation
claims and Margaritaville’s defenses to those claims; (2) is vague and ambiguous; (3) is
overbroad; and (3) is unduly burdensome as it requires Margaritaville to search for any

documents regardless of their relevance to this case.
36. Any and all documents concerning any experts you retained/intent on retaining for this
action.
RESPONSE: Margaritaville will provide its expert witness disclosures under FRCP 26 by
the deadlines set forth in the Civil Case Management Plan and Scheduling Order.
37. Any and all documents referred to in responding to the First Set of Interrogatories
simultaneously served upon Defendants, together with the discovery requests herein.

_ RESPONSE: Margaritaville objects to this Request to the extent it (1) seeks documents
that are not relevant to and disproportional to Plaintiff's discrimination and retaliation
claims and Margaritaville’s defenses to those claims; and (2) is vague and ambiguous;
Subject to and without waiving these objections, if Plaintiff is willing to narrow the scope
of this Request, see documents bearing the Bates numbers IMCMV000001-000222.

38. Any and all documents not responsive to the above which you intend to introduce into
evidence at the time of trial.
RESPONSE: Margaritaville objects to this Request to the extent it (1) seeks documents
that are not relevant to and disproportional to Plaintiff's discrimination and retaliation
claims and Margaritaville’s defenses to those claims; and (2) is vague and ambiguous;
Subject to and without waiving these objections, see documents bearing the Bates numbers

IMCMV000001-000222.

Dated: December 2, 2022

/s/ Anjanette Cabrera
Anjanette Cabrera

Timothy Barbetta

Constangy, Brooks, Smith & Prophete LLP
175 Pearl Street, Suite C-402

Brooklyn. New York 11201

Phone: 646.341.6544
acabrera@constangy.com
tbarbetta@constangy.com
COUNSEL FOR DEFENDANT
CERTIFICATE OF SERVICE

. I certify that on December 2, 2022, I served DEFENDANT’S RESPONSES AND
OBJECTIONS TO PLAINTIFF’S FIRST SET OF REQUESTS FOR PRODUCTION OF
DOCUMENTS on Plaintiffs counsel by email:

Olena Tatura

Akin Law Group, PLLC

45 Broadway, Suite 1420
New York, New York 10006
212.825.1400

olena@akinlaws.com

/s/ Anjanette Cabrera
Anjanette Cabrera
NYC Margaritaville
Weekly Roster Report

Generated On : Friday, November 19, 2021 at 11:01:00 AM EST
Line, Receiving, Dish, Prep, Culinary Managers Schedules
Monday, August 30, 2021 - Sunday, September 5, 2021

Mon, 8/30/21 Tue, 3/31/24 Wed, 9/1/21 Thu, 9/2/21 Fri, 93/21 Sat, 9/4/21 Sun, 9f5/21
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Support:(512) 219-1492; Emergency: (866) 753-3853 Page 1 Generated by HotSchedules

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NYC Margaritaville
Weekly Roster Report

Generated On : Friday, November 19, 2021 at 11:01:00 AM EST
Line, Receiving, Dish, Prep, Culinary Managers Schedules
Monday, August 23, 2021 - Sunday, August 29, 2021

Mon, 8/23/21 Tue, 8/24/21 Wed, 8/25/21 Thu, 8/26/21 Fei, 8/27/21 Sat, 8/28/21 Sun, 8/29/21
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NYC Margaritaviile
Weekly Roster Report

Generated On : Friday, November 19, 2021 at 11:00:00 AM EST
Line, Receiving, Dish, Prep, Culinary Managers Schedules
Monday, July 26, 2021 - Sunday, August 1, 2021

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Mon, 7/26/21 Tue, 7/27/21 Wed, 7/28/21 Thu, 7/29/21 Fri, 7/30/21
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NYC Margaritaville
Weekly Roster Report

Generated On : Friday, November 19, 2024 at 10:59:00 AM EST
Line, Receiving, Dish, Prep, Culinary Managers Schedules
Monday, July 19, 2021 - Sunday, July 25, 2021

Employees Mon, 7/19/24 Tue, 7/20/21 Wed, 7/21/21 Fri, 7/23/21 Sat, 7/24/21 Sum, 7/25/24
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Support:(512) 219-1492; Emergency: (866) 753-3853 Generated by HotSchedules

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NYC Margaritaville
Weekly Roster Report

Generated On ; Friday, November 19, 2021 at 10:42:00 AM EST
Line, Receiving, Dish, Prep, Culinary Managers Schedules
Monday, July 5, 2021 - Sunday, July 11, 2021

Mon, 7/5/21 Tue, 7/6/21 Wed, 7/7/21 Tha, 7/8/21 Fei, 7/9/21 Sat, 7/10/24 Sun, 7/44/21
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Support:(512) 219-1492; Emergency: (866) 753-3853 Page 1 Generated by HotSchedules

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NYC Margaritaville Weekly Roster Report

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NYC Margaritaville
Weekly Roster Report

Generated On : Friday, November 19, 2021 at 10:43:00 AM EST

Line, Receiving, Dish, Prep, Culinary Managers Schedules

Monday, July 12, 2021 - Sunday, July 18, 2021

Mon, 7/12/21 Tue, 7/13/21 Wed, 7/14/21 Thu, 745/21 Fri, 746/24 Sat, 7/17/21 Sun, 718/21
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NYC Margaritaville
Weekly Roster Report

Generated On : Friday, November 19, 2021 at 10:41:00 AM EST
Line, Receiving, Dish, Prep, Culinary Managers Schedules
Monday, June 7, 2021 - Sunday, June 13, 2021

Employee Mon, 6/7/21 Tue, 6/8/24 Wed, 6/9/21 Thu, 640/21 Fri, 6/41/21 Sat, 6/12/24 Sun, 6421
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7) BSB -7772 Line | OUT Train Line | OUT Tran tune }OUT Trae Line | OUF Trats Line | O9T Train
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NYC Margaritaville
Weekly Roster Report

Generated On : Friday, November 19, 2021 at 10:40:00 AM EST
Line, Receiving, Dish, Prep, Cutinary Managers Schedules
Monday, June 14, 2021 - Sunday, June 20, 2021

Employee Mon, 6/14/21 Tue, 6/45/24 Wed, 6/16/21

Thu, 6/17/21 Fri, 6/18/21 Sat, 6/19/24

Sun, 6/20/21

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NOFAL/IMCMV 000092

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NYC Margaritaville
Weekly Roster Report

Generated On : Friday, November 19, 2021 at 10:39:00 AM EST
Line, Receiving, Dish, Prep, Culinary Managers Schedules
Monday, June 21, 2021 - Sunday, June 27, 2021

Mon, 6/21/21 Tue, 6/22/21 Wed, 6/23/21 Thu, 6/24/21 Fri, G/25/24 Sat, G/26/2% Sun, 8/27/21
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Support:(512) 219-1492; Emergency: (866) 753-3853 Page 1 Generated by HotSchedules

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NYC Margaritaville
Weekly Roster Report

Generated On : Friday, November 19, 2021 at 10:39:00 AM EST
Line, Receiving, Dish, Prep, Culinary Managers Schedules
Monday, June 28, 2021 - Sunday, July 4, 2021

Mon, &/28/21 Tue, 6/29/21 Wed, 6/30/21 Thu, 7H/21 Fri, 7/2/21 Sat, 7/3/21 Sun, 7/4/21
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Support:(512) 219-1492; Emergency: (866) 753-3853 Page 1 Generated by HotSchedules

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